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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISON



 ROBERT LICARI,

 Plaintiff,


 vs.                                             Case No.:
 ONLINE INFORMATION

 SERVICES, INC.

 Defendant.
 _______________________________/


                                            COMPLAINT


         1.    Plaintiff alleges a violation of the Fair Debt Collection Practices Act, 15 U.S.C.

 1692 et seq. (“FDCPA”), and the Florida Consumer Collection Practices Act, Fla. Stat. 559.55

 et seq. (“FCCPA”).

                                            JURISDICTION

         2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 1337, 1367, and pursuant

 to 15 U.S.C. § 1692 et seq (“FDCPA”), and pursuant to the Florida Consumer Collection

 Practices Act, Fla. Stat. 559.55 et seq.

         3.     This action arises out of Defendant’s violation of the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and out of the invasion of Plaintiff’s personal

 and financial privacy by this Defendant and its agent in its illegal effort to collect a consumer

 debt from Plaintiff.

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         4.       Venue is proper in this District because the act and transaction occurred here,

 Plaintiff resides here, and Defendant transacts business here.

                                                 PARTIES

         5.       Plaintiff, ROBERT LICARI, is a natural person who resides in the City of

 Plantation, County of Broward, State of Florida, and is a “consumer” as that term is defined by

 15 U.S.C. § 1692a(3).

         6.       Defendant, ONLINE INFORMATION SERVICES, INC., (hereinafter

 “Defendant Online Information”) is a collection agency operating from an address of 685 W.

 Fire Tower Road, Winterville, NC 28590, and is a “debt collector” as that term is defined by 15

 U.S.C. § 1692a(6).

         7.       Defendant Online Information regularly uses the mail and telephone in a business

 the principal purpose of which is the collection of debts.

         8.       Defendant Online Information regularly collects or attempts to collect debts for

 other parties.

         9.       Defendant Online Information was acting as a debt collector with respect to the

 collection of Plaintiff’s alleged debt.

                                     FACTUAL ALLEGATIONS

         10.      Plaintiff incurred a financial obligation that was primarily for personal, family or

 household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

         11.      Sometime thereafter, the debt was consigned, placed or otherwise transferred to

 Defendant for collection from this Plaintiff.

         12.      Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.



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                                        COLLECTION CALL

        13.     In or about September 7, 2010, Defendant Online Information’s collector

 contacted Plaintiff by telephone in an effort to collect this debt, which was a “communication” in

 an attempt to collect a debt as that term is defined by 15 U.S.C. § 1692a(2).

        14.     During this September, 2010 call, Defendant left a voice mail on Plaintiff’s

 answering machine, identifying himself as a debt collector.

                                             SUMMARY

        15.     The above-described collection communication made to Plaintiff by Defendant

 Online Information, and a collection employee employed by Defendant Online Information, was

 made in violation of multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §

 1692b(3), and 1692b(5), as well as the FCCPA § 559.72(5), and § 559.77(5).

        16.     During its collection communication, Defendant and this individual debt collector

 employed by Defendant Online Information failed multiple provisions of the FDCPA, including

 but not limited to 15 U.S.C. § 1692b(3), and 1692b(5), amongst others.

        17.     The above-detailed conduct by this Defendant of harassing Plaintiff in an effort to

 collect this debt was a violation of multiple provisions of the FDCPA, including but not limited

 to all of the above mentioned provisions of the FDCPA, as well as an invasion of Plaintiff’s

 privacy by an intrusion upon seclusion and by revelation of private financial facts.

        18.     Defendant’s disclosure of Plaintiff’s indebtedness to a third party was an invasion

 of his privacy and their right to financial privacy.



                                          TRIAL BY JURY




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           19.     Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

 so triable. US Const. amend. 7. Fed.R.Civ.P. 38.

                                          CAUSES OF ACTION

                                                COUNT 1

                 VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                         15 U.S.C. § 1692 et seq.

           20.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

 as though fully stated herein.

           21.     The foregoing act and omission of the Defendant and its agent constitutes

 multiple violations of the FDCPA including, but not limited to, each and every one of the above-

 cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with respect to this Plaintiff.

           22.     As a result of the Defendant’s violation of the FDCPA, Plaintiff is entitled to

 statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

 reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

 herein.

                                                COUNT 2

             INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY

                 REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY

           23.     Plaintiff incorporates by reference all of the paragraphs of this Complaint as

 though fully stated herein.

           24.     Congress explicitly recognized a consumer’s inherent right to privacy in

 collection matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

 findings:



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               Abusive debt collection practices contribute to the number of personal
               bankruptcies, to marital instability, to the loss of jobs, and to invasions of
               individual privacy. 15 U.S.C. § 1692(a) (emphasis added).

         25.      Congress further recognized a consumer’s right to privacy in financial data in

 passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for

 a broad range of “financial institutions” including debt collectors albeit without a private right of

 action, when it stated as part of its purposes:


               It is the policy of the Congress that each financial institution has an
               affirmative and continuing obligation to respect the privacy of its
               customers and to protect the security and confidentiality of those
               customers’ nonpublic personal information. 15 U.S.C. § 6801(a)
               (emphasis added).

         26.      Defendant and/or its agent intentionally and/or negligently interfered, physically

 or otherwise, with the solitude, seclusion and or private concerns or affairs of this Plaintiff,

 namely, by unlawfully attempting to collect a debt and thereby invaded the Plaintiff’s privacy.

         27.      Defendant also intentionally and/or negligently interfered, physically or

 otherwise, with the solitude, seclusion and or private concerns or affairs of the Plaintiff, namely,

 by unlawfully disclosing information about this debt to a third party, and thereby invaded

 Plaintiffs’ right to financial privacy.

         28.      Defendant disclosed Plaintiff’s alleged indebtedness to Robert Sausol, who is

 Plaintiff’s friend. Defendant knew or had reason to know that Robert Sausol did not have a

 legitimate need for the information.

         29.      The Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude,

 seclusion, private concerns or affairs, and private financial information.

         30.      The conduct of this Defendant and its agents, in engaging in the above-described

 illegal collection conduct against this Plaintiff, resulted in multiple intrusions and invasions of

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 privacy by this Defendant which occurred in a way that would be highly offensive to a

 reasonable person in that position.

                                               COUNT 3

                           VIOLATION OF 559.72 (5) OF THE FLORIDA

                           CONSUMER COLLECTION PRACTICESACT



        31.       Defendant disclosed Plaintiff’s alleged indebtedness to Robert Sausol, who is

 Plaintiff’s friend. Defendant knew or had reason to know that Robert Sausol did not have a

 legitimate need for the information.

        32.       As a result of the improper disclosure to a third party, Plaintiff’s reputation has

 been affected.

        WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

 Plaintiff and against Defendant for:


 A)   Damages and

 B)    Attorneys’ fees and costs

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that judgment be entered against the Defendant.

 Dated: September 27, 2010                       Respectfully submitted,


                                                 /s Andrew I. Glenn________________________
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